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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ALASKA

 LEAGUE OF CONSERVATION VOTERS et al.,                             )
                                                                   )
             Plaintiffs,                                           )
                                                                   )
                     v.                                            )   No. 3:17-cv-00101-SLG
                                                                   )
 DONALD J. TRUMP et al.,
                                                                   )
                                                                   )
             Defendants,
                                                                   )
 AMERICAN PETROLEUM INSTITUTE and STATE                            )
 OF ALASKA,                                                        )
                                                                   )
             Intervenor-Defendants.                                )
                                                                   )

     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY
                           JUDGMENT



       Case 3:17-cv-00101-SLG             Document 51           Filed 06/08/18   Page 1 of 55
                                        TABLE OF CONTENTS

TABLE OF AUTHORITIES ................................................................................... iii

INTRODUCTION ..................................................................................................... 1

BACKGROUND ....................................................................................................... 2

ARGUMENT ............................................................................................................. 9

I.       PLAINTIFFS HAVE STANDING ................................................................. 9

         A.       Plaintiffs have suffered injury-in-fact ................................................. 10

                  1.       Harm to Plaintiffs’ members is concrete .................................. 11

                  2.       Harm to Plaintiffs’ members is particularized .......................... 13

                  3.       Harm to Plaintiffs’ members is imminent................................. 14

                  4.       Plaintiffs satisfy the other elements of standing ....................... 17

II.      PRESIDENT TRUMP UNLAWFULLY REVERSED OUTER
         CONTINENTAL SHELF WITHDRAWALS .............................................. 18

         A.       There is no constitutional authority for President Trump’s action ..... 18

         B.       President Obama permanently withdrew submerged lands in the
                  Arctic and Atlantic Oceans pursuant to his delegated authority ......... 22

         C.       President Trump lacked any authority for his reversals ...................... 23

III.     THE COURT SHOULD DECLARE SECTION 5 OF THE ORDER
         UNLAWFUL AND INVALID AND ENJOIN THE SECRETARIES OF
         THE INTERIOR AND COMMERCE FROM IMPLEMENTING IT ......... 32

         A.       The Court may grant the declaratory and injunctive relief
                  Plaintiffs seek ...................................................................................... 33


MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                       i
       Case 3:17-cv-00101-SLG Document 51                              Filed 06/08/18           Page 2 of 55
         B.       A declaration and injunction would remedy Plaintiffs’ harm ............. 34

         C.       The equities compel an injunction here .............................................. 37

                  1.       Plaintiffs will suffer irreparable harm absent an injunction ..... 37

                  2.       The balance of equities and the public interest favor
                           injunctive relief ......................................................................... 39

CONCLUSION ........................................................................................................ 40




MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      ii
       Case 3:17-cv-00101-SLG Document 51                             Filed 06/08/18          Page 3 of 55
                                     TABLE OF AUTORITIES

                                                    CASES

Almendarez-Torres v. United States,
     523 U.S. 224 (1998)....................................................................................... 25

Amoco Prod. Co. v. Vill. of Gambell,
     480 U.S. 531 (1987)....................................................................................... 37

Barnhart v. Sigmon Coal Co.,
     534 U.S. 438 (2002)....................................................................................... 24

Bond v. United States,
     564 U.S. 211 (2011)....................................................................................... 20

Bragdon v. Abbott,
     524 U.S. 624 (1998)....................................................................................... 27

Carcieri v. Salazar,
      555 U.S. 379 (2009)....................................................................................... 24

Carroll v. Safford,
     44 U.S. (3 How.) 441 (1845) ......................................................................... 33

Cent. Bank of Denver v. First Interstate Bank,
      511 U.S. 164 (1994)....................................................................................... 26

Clinton v. City of New York,
      524 U.S. 417 (1998)....................................................................................... 33

Clinton v. Jones,
      520 U.S. 681 (1997)....................................................................................... 33

Cochnower v. United States,
     248 U.S. 405 (1919)....................................................................................... 24

Ctr. for Biological Diversity v. Kempthorne,
       588 F.3d 701 (9th Cir. 2009) ...................................................................12, 14
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      iii
       Case 3:17-cv-00101-SLG Document 51                          Filed 06/08/18         Page 4 of 55
Ctr. for Biological Diversity v. Nat’l Sci. Found.,
       No. C 02-5065 JL, 2002 WL 31548073 (N.D. Cal. Oct. 30, 2002) .............. 38

Doe 1 v. Trump,
      275 F. Supp. 3d 167 (D.D.C. 2017)............................................................... 34

Ecological Rights Found. v. Pac. Lumber Co.,
     230 F.3d 1141 (9th Cir. 2000) ...........................................................10, 11, 18

Franklin v. Massachusetts,
     505 U.S. 788 (1992).................................................................................33, 34

Franklin Nat’l Bank v. New York,
     347 U.S. 373 (1954)....................................................................................... 27

Friends of the Earth v. Laidlaw Envtl. Servs. (TOC), Inc.,
      528 U.S. 167 (2000).................................................................................10, 13

Hawaii v. Trump,
     878 F.3d 662 (9th Cir. 2017) ......................................................................... 33

Hunt v. Wash. State Apple Adver. Comm’n,
      432 U.S. 333 (1977)....................................................................................... 18

Idaho Sporting Cong. v. Alexander,
      222 F.3d 562 (9th Cir. 2000) ......................................................................... 39

In re Zappos.com, Inc.,
       888 F.3d 1020 (9th Cir. 2018) ....................................................................... 14

Karnoski v. Trump,
     No. C17-1297-MJP, 2017 WL 6311305 (W.D. Wash. Dec. 11, 2017) ........ 34

Kent v. Dulles,
      357 U.S. 116 (1958)....................................................................................... 27

Kidd v. U.S. Dep’t of Interior,
      756 F.2d 1410 (9th Cir. 1985) ....................................................................... 25
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      iv
       Case 3:17-cv-00101-SLG Document 51                          Filed 06/08/18         Page 5 of 55
Krottner v. Starbucks Corp.,
      628 F.3d 1139 (9th Cir. 2010) ....................................................................... 14

Lujan v. Defenders of Wildlife,
      504 U.S. 555 (1992).................................................................................11, 18

Meghrig v. KFC Western, Inc.,
     516 U.S. 479 (1996)....................................................................................... 27

Merrill Lynch, Pierce, Fenner & Smith v. Curran,
      456 U.S. 353 (1982)....................................................................................... 27

Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit,
      547 U.S. 71 (2006)......................................................................................... 28

Nat’l Treasury Emps. Union v. Nixon,
      492 F.2d 587 (D.C. Cir. 1974) ...........................................................19, 24, 33

Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
      886 F.3d 803 (9th Cir. 2018) ......................................................................... 37

Nat. Res. Def. Council v. Evans,
      279 F. Supp. 2d 1129 (N.D. Cal. 2003) ......................................................... 39

Nat. Res. Def. Council v. Gutierrez,
      No. C-07-04771 EDL, 2008 WL 360852 (N.D. Cal. Feb. 6, 2008) .............. 38

Native Vill. of Point Hope v. Jewell,
      1:08–cv–0004–RRB (D. Alaska, April 24, 2014) ......................................... 38

Native Vill. of Point Hope v. Salazar,
      1:08–cv–0004–RRB (D. Alaska, July 21, 2010) ........................................... 38

Noriega-Perez v. United States,
      179 F.3d 1166 (9th Cir. 1999) ...................................................................... 19

Ocean Mammal Inst. v. Gates,
     546 F. Supp. 2d 960 (D. Haw. Feb. 29, 2008)............................................... 38


MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      v
       Case 3:17-cv-00101-SLG Document 51                          Filed 06/08/18         Page 6 of 55
Pacemaker Diagnostic Clinic of Am., Inc. v. Instromedix, Inc.,
     725 F.2d 537 (9th Cir. 1984) ......................................................................... 19

Padash v. INS,
     358 F.3d 1161 (9th Cir. 2004) ....................................................................... 25

Ross v. Blake,
      136 S. Ct. 1850 (2016).............................................................................24, 25

Sierra Club v. Morton,
      405 U.S. 727 (1972)....................................................................................... 13

Sioux Tribe of Indians v. United States,
      316 U.S. 317 (1942).................................................................................20, 21

Spokeo, Inc. v. Robins,
     136 S. Ct. 1540 (2016).............................................................................10, 13

Stern v. Marshall,
      564 U.S. 462 (2011)....................................................................................... 19

United States v. California,
      332 U.S. 19 (1947)......................................................................................... 20

United States v. Midwest Oil Co.,
      236 U.S. 459 (1915)....................................................................................... 21

United States v. Patton,
      771 F.2d 1240 (9th Cir. 1985) ....................................................................... 25

Yates v. United States,
      135 S. Ct. 1074 (2015)................................................................................... 30

Youngstown Sheet & Tube Co. v. Sawyer,
     343 U.S. 579 (1952)...........................................................................18, 33, 34

Youngstown Sheet & Tube Co. v. Sawyer,
     103 F. Supp. 569 (D.D.C 1952)..................................................................... 40


MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      vi
       Case 3:17-cv-00101-SLG Document 51                          Filed 06/08/18         Page 7 of 55
                                  CONSTITUTIONAL PROVISIONS

U.S. Const. art. IV, § 3 ............................................................................................. 32

U.S. Const. art. IV, § 3, cl. 2 ..............................................................................19, 20

                                                    STATUTES

16 U.S.C. § 473 ........................................................................................................ 26

16 U.S.C. § 1371(a)(5)(A) ....................................................................................... 36

16 U.S.C. § 1371(a)(5)(A)(i)(II)(aa) ........................................................................ 36

16 U.S.C. § 1371(a)(5)(D) ....................................................................................... 36

43 U.S.C. § 1332(1) ...........................................................................................20, 29

43 U.S.C. § 1337 ...................................................................................................... 35

43 U.S.C. § 1337(a)(1) ............................................................................................. 30

43 U.S.C. § 1340 ...................................................................................................... 35

43 U.S.C. § 1341(a) ...........................................................................6, 19, 22, 30, 35

43 U.S.C. § 1344 ...................................................................................................... 32

54 U.S.C. § 320301(a) ............................................................................................. 26

54 U.S.C. § 320301(b) ............................................................................................. 26

Pub. L. No. 61-303, 36 Stat. 847 (1910) .................................................................. 26

Pub. L. No. 74-286, 49 Stat. 660 (1935) .................................................................. 26

Pub. L. No. 83-212, 67 Stat. 462 (1953) ........................................................7, 29, 30

Pub. L. No. 94-579, 90 Stat. 2732 (1976) ................................................................ 21
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      vii
       Case 3:17-cv-00101-SLG Document 51                               Filed 06/08/18          Page 8 of 55
Pub. L. No. 95-372, 92 Stat. 629 (1978) .................................................................. 32

Pub. L. No. 109-54, 119 Stat. 499 (2005) .................................................................. 8

Pub. L. No. 111-8, 123 Stat. 524 (2009) .................................................................... 8

                                        OTHER AUTHORITIES

Executive Order 13795—Implementing an America-First Offshore Energy
Strategy,
      2017 Daily Comp. Pres. Docs. 287 (Apr. 28, 2017) .................8, 9, 14, 15, 17

Presidential Memorandum—Withdrawal of Certain Areas of the United States
Outer Continental Shelf Offshore Alaska from Leasing Disposition,
      2015 Daily Comp. Pres. Docs. 59 (Jan. 27, 2015) ..............................3, 22, 23

Presidential Memorandum—Withdrawal of Certain Portions of the United States
Arctic Outer Continental Shelf from Mineral Leasing,
      2016 Daily Comp. Pres. Docs. 860 (Dec. 20, 2016) .............................4, 5, 23

Presidential Memorandum—Withdrawal of Certain Areas off the Atlantic Coast on
the Outer Continental Shelf from Mineral Leasing,
      2016 Daily Comp. Pres. Docs. 861 (Dec. 20, 2016) ................................ 3, 23

25 Fed. Reg. 2352 (Mar. 19, 1960) ............................................................................ 7

34 Fed. Reg. 5655 (Mar. 26, 1969) ............................................................................ 7

H.R. Rep. No. 82-695 (1951) ................................................................................... 21

H.R. Rep. No. 95-590 (1978) .............................................................................20, 32

S. Rep. 83-411 (1953) ........................................................................................29, 31

S. Rep. No 95-284 (1978) ............................................................................21, 31, 32

26 Weekly Comp. Pres. Docs. 1006 (June 26, 1990) ................................................ 7

34 Weekly Comp. Pres. Docs. 1111 (June 12, 1998) ............................................ 7, 8
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      viii
       Case 3:17-cv-00101-SLG Document 51                          Filed 06/08/18         Page 9 of 55
43 Weekly Comp. Pres. Docs. 19 (Jan. 9, 2007) ................................................... 7, 8

44 Weekly Comp. Pres. Docs. 986 (July 14, 2008) ...........................................7, 8, 9

10 U.S. Op. Atty. Gen. 359 (Nov. 8, 1862) ............................................................. 28

16 U.S. Op. Atty. Gen. 121 (Aug. 10, 1878) ........................................................... 29

17 U.S. Op. Atty. Gen. 168 (July 20, 1881) ............................................................ 29

21 U.S. Op. Atty. Gen. 120 (Jan. 19, 1895) ............................................................ 29

28 U.S. Op. Atty. Gen. 143 (Jan. 24, 1910) ............................................................. 29

36 U.S. Op. Atty. Gen. 75 (July 8, 1929) ................................................................ 29

39 U.S. Op. Atty. Gen. 185 (Sept. 26, 1938) .....................................................28, 29

2010 Daily Comp. Pres. Docs. 214 (Mar. 31, 2010) ................................................. 7

2014 Daily Comp. Pres. Docs. 934 (Dec. 16, 2014) ................................................. 7

2016 Daily Comp. Pres. Docs. 836 (Dec. 9, 2016) ................................................... 8




MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      ix
      Case 3:17-cv-00101-SLG Document 51                      Filed 06/08/18       Page 10 of 55
                                     INTRODUCTION

       Plaintiffs ask this Court to curb an abuse of executive power that touches

deeply on the people and wildlife that depend upon the Arctic and Atlantic Oceans.

Acting without statutory or constitutional authority, President Trump issued an

executive order that purports to strip protections from vast areas of these fragile

and biologically rich oceans that had been permanently withdrawn from industrial

oil and gas development.

       The Order spurs oil and gas activities that endanger marine mammals and

other ocean denizens, carrying serious risks for ecosystem health. These impacts

pose threats to many people who use these oceans, like scientific researchers and

tourists, subsistence hunters and recreational fishermen, tour boat operators and

photographers. Only Congress has the power to make those lands available again

for mineral exploitation and its accompanying threats.

       The law here is straightforward and well established. Under the

Constitution, the President has powers over public lands only to the extent

Congress delegates those powers. Through the Outer Continental Shelf Lands Act,

Congress has granted the President power to withdraw lands from industrial

development, but—in contrast to its explicit authorizations in other statutes—it has

not granted the power to reverse such withdrawals. The clear import of the Act’s



MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      1
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 11 of 55
text is buttressed by contextual and historical indicia of congressional intent. The

President’s order is unlawful.

       Plaintiffs ask the Court to declare the Order unlawful and to enjoin any

agency actions that are inconsistent with the prior withdrawals. The Court has the

power to grant that relief, and it will redress Plaintiffs’ imminent injuries.

                                      BACKGROUND

       In December 2016, President Obama protected the United States’ Arctic

Ocean—except 2.8 million nearshore acres in the Beaufort Sea—and, separately, a

series of deepwater canyons in the Atlantic Ocean, from oil and gas development.

Though the Secretary of the Interior had already decided not to include these areas

in the federal government’s five-year offshore leasing program, President Obama’s

actions, by their terms, made those areas ineligible for leasing in any future such

program. His actions built on steps he took in January 2015 to withdraw from

leasing several Arctic Ocean areas with particularly high ecological and

subsistence values. He took these actions in service of a variety of compelling

public purposes, utilizing—as did several of his predecessors—unique authority

Congress bestowed on Presidents to preserve publicly owned ocean areas from

mineral exploitation.

       In each instance, President Obama placed mineral resources off limits to

protect biological resources—resources valuable to the American public in their

MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      2
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 12 of 55
own right but also for their importance to human users. His 2015 Arctic

withdrawal cited “the critical importance of certain areas . . . to subsistence use by

Alaska Natives as well as for marine mammals, other wildlife, and wildlife

habitat.” Ex. 2. A contemporaneous White House statement explained that the

President was putting these areas “off-limits to consideration for future oil and gas

leasing” because they are “[t]eeming with biological diversity,” are “part of one of

the last great marine wildernesses,” support endangered species and fish that “grant

fishermen their livelihoods,” and “include Alaskan coastal buffer and subsistence

areas.” Ex. 7 at 1. President Obama also cited intergenerational responsibilities,

acting, he stated, “to ensure that the unique resources of these areas remain

available for future generations.” Ex. 2.

       Similarly, the 2016 withdrawal of 26 Atlantic canyons and canyon

complexes reflected their “critical importance . . . for marine mammals, deep water

corals, other wildlife, and wildlife habitat.” Ex. 4. To ensure they remain

available for future generations, the withdrawal “prevents consideration . . . for any

future mineral leasing.” Id. The accompanying White House fact sheet cited the

“incredible ecological importance” of the canyons, making them “ecologically and

economically valuable for fisheries” including “numerous large, commercially

valuable species such as marlin, sailfish, swordfish, tunas, and sharks.” Ex. 6 at

1-2. The fact sheet also pointed to “unique biological communities” in and around
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      3
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 13 of 55
the canyons that include—in addition to many cold-water corals—sponges,

crustaceans, and numerous bottom fish, as well as sea turtles, and endangered and

other deep-diving whales. Id. at 3. “Many of these species live many years, have

low reproductive rates, grow slowly, and rely on the habitats provided by canyon

features throughout their lifespans.” Id. at 2.

       The fact sheet noted the importance of the Atlantic canyon withdrawal in

protecting vulnerable species already threatened by ocean warming—warming that

is projected to increase in northeast United States seas at three times the global

average. Id. at 1. These species are also “susceptible to physical disturbance by

human activities,” including impacts associated with oil drilling. Id. at 3. At the

same time, the impact on the Nation’s energy resources was “estimated to be

minimal,” in part because of the “technical and operational risks related to the

canyon geology.” Id. at 4.

       In expanding his Arctic withdrawals in 2016 to include minerals under the

large majority of federal Arctic waters, President Obama responded in part to

“irreplaceable values of the Chukchi Sea and portions of the Beaufort Sea for

marine mammals, other wildlife, wildlife habitat, scientific research, and Alaska

Native subsistence use.” Ex. 3. The White House’s supporting fact sheet lists

“several species of seals, Pacific walrus, polar bears, and more than 98 species of

fish,” “a number of whale species,” “[m]any bird species,” and “several Federally
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      4
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 14 of 55
listed and candidate species under the Endangered Species Act.” Ex. 5 at 2. The

fact sheet also found that “Alaska Native communities of the North Slope depend

largely on the natural environment, especially the marine environment, for food

and materials” and that this “environment is integrally linked with the cultural and

spiritual values of these communities.” Id. at 3.

       While the President had already in 2015 withdrawn some specific high-value

habitats in the Arctic Ocean, the U.S. Department of the Interior had subsequently

identified several other “Environmentally Important Areas (EIAs).” Id. In

addition, the White House fact sheet noted, “many of the species and ecosystem

components are not limited to the EIAs themselves” and hence are vulnerable to

activities elsewhere in the Arctic. Id. Moreover, protecting only the highest-value

habitat would not “account for the way in which oil could spread” in the event of a

substantial spill, an event the Department put at 75% likely for just a single lease

sale. Id. at 3, 7; see also Ex. 3 (President noting “the vulnerability of these

ecosystems to an oil spill”).

       This threat from spills region-wide is greatly exacerbated by the remoteness

and harsh conditions of the Arctic Ocean. The President’s withdrawal specifically

cited “the unique logistical, operational, safety, and scientific challenges and risks

of oil extraction and spill response in these Arctic waters.” Ex. 3. Logistical

support in the remote region is “very limited” and expected to remain so; oil breaks
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      5
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 15 of 55
down slowly, if at all, in cold water; ice covers the sea eight to nine months a year;

darkness is a major issue during freeze-up; and oil under or in ice would be trapped

until spring and dispersed widely. Ex. 5 at 6-7.

       President Obama acted, as well, because factors making Arctic spill

response and remediation so challenging also make delivery of oil and gas from the

withdrawn areas to consumers a remote possibility. “[A]ny potential Arctic

offshore production would only occur around the middle of this century.”1 Ex. 5 at

1-2. Production then would run headlong into measures the United States and

other countries need to take to reduce carbon pollution and stem climate change.

“These timelines,” the White House fact sheet pointed out, “would only bring

significant new oil and gas resources into the market at a time when the United

States and its international partners must be transitioning to alternative energy

sources.” Id. at 8.

       President Obama acted pursuant to section 12(a) of the Outer Continental

Shelf Lands Act (OCSLA), 43 U.S.C. § 1341(a). See Exs. 2, 3 & 4 (all citing “the




1 The withdrawal did not apply in 2.8 million nearshore acres of the Beaufort Sea
with high oil and gas potential close to existing state leases and infrastructure,
which might shorten timelines. Still, there are “significant concerns about oil and
gas activity occurring in this area” and it was excluded from the current five-year
leasing program. Ex. 5 at 2. Instead, the President left that area to future
“evaluation and study to determine if new leasing could be appropriate at some
point.” Id.
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      6
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 16 of 55
authority granted to me in section 12(a)”). Congress enacted OCSLA in 1953 to

establish and regulate federal jurisdiction over the outer continental shelf, that is,

beyond state waters. See Pub. L. No. 83-212, preamble, 67 Stat. 462, 462 (1953).

Congress authorized the Secretary of the Interior to determine whether to dispose

of federal interests in those lands by leasing them for extraction of minerals,

principally oil and gas (as well as by issuing rights of way for pipelines). Pub. L.

No. 83-212, §§ 5, 8, 67 Stat. at 464, 468. In section 12(a), Congress gave

Presidents special authority, beyond their supervisory power over their own

inferior officers, to withdraw unleased outer continental shelf lands from

disposition by future Secretaries of the Interior. Pub. L. No. 83-212, § 12(a), 67

Stat. at 469.

       Presidents from Eisenhower to Obama have used this delegation to create or

enlarge upon withdrawals in the outer continental shelf, in addition to those

described above. See 25 Fed. Reg. 2352 (Mar. 19, 1960); 34 Fed. Reg. 5655 (Mar.

26, 1969);2 26 Weekly Comp. Pres. Docs. 1006 (June 26, 1990); 34 Weekly Comp.

Pres. Docs. 1111 (June 12, 1998); 43 Weekly Comp. Pres. Docs. 19 (Jan. 9, 2007);

44 Weekly Comp. Pres. Docs. 986 (July 14, 2008); 2010 Daily Comp. Pres. Docs.

214 (Mar. 31, 2010); 2014 Daily Comp. Pres. Docs. 934 (Dec. 16, 2014); 2016


2
 President Nixon made this withdrawal through his Interior Secretary and did not
explicitly cite section 12(a).
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      7
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 17 of 55
Daily Comp. Pres. Docs. 836 (Dec. 9, 2016).3 Some of their withdrawals have

been time-limited, but most have not.4

       Despite the absence of statutory authority, in April 2017 President Trump

issued an executive order purporting to reverse all existing presidential

withdrawals in the Arctic and Atlantic Oceans. See Ex. 1.5 Styled as a

“Modification,” Section 5 of the Order directed that the wording of his

predecessor’s memoranda withdrawing portions of the Chukchi and Beaufort Seas

and the Atlantic be replaced verbatim by the text from President Bush’s 2008

withdrawal memorandum, which affected only entirely different ocean areas. The

end result of that sleight-of-hand, if the Trump order were valid, would be to




3
  This withdrawal was included in Executive Order 13754, creating the Northern
Bering Sea Climate Resilience Area, for which President Obama cited OCSLA
without specifically mentioning section 12(a).
4
  While President George W. Bush twice curtailed a time-limited withdrawal, once
in 2007 and again in 2008, see 43 Weekly Comp. Pres. Docs. 19; 44 Weekly
Comp. Pres. Docs. 986, neither of these efforts was judicially reviewed, let alone
upheld. That these actions were not challenged is not surprising. The withdrawal
President Bush curtailed expired by its terms in 2012, see 34 Weekly Comp. Pres.
Docs. 1111; Bush’s first curtailment simply reflected prior congressional action,
compare 43 Weekly Comp. Pres. Docs. 19, with Pub. L. No. 109-54, §§ 104-06,
119 Stat. 499, 521-22 (2005); and Congress acted to lift its own funding moratoria
shortly after the second curtailment, compare Pub. L. No. 111-8, Div. E, 123 Stat.
524, 711-12 (2009), with Pub. L. No. 109-54, §§ 104-06.
5
  Though not at issue in this case, Section 4(c) of President Trump’s order also
revoked Executive Order 13754, see Ex. 1 at 2, which, in creating the Northern
Bering Sea Climate Resilience Area, included a withdrawal in lower portions of
the Arctic Ocean. See 2016 Daily Comp. Pres. Docs. 836.
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      8
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 18 of 55
render the Obama memoranda identical to and redundant with Bush’s, and the

Obama withdrawals therefore of no effect. Compare id. at 2, with 44 Weekly

Comp. Pres. Docs. 986. President Trump’s order also directed the Secretary of the

Interior to “give full consideration” to annual lease sales in, among other ocean

areas, the Chukchi and Beaufort Seas and the mid-Atlantic Ocean, and to

reconsider recently adopted safety and pollution rules applicable to outer

continental shelf drilling in general and to Arctic drilling in particular. Ex. 1 at

1, 3. It also directed him, together with the Secretary of Commerce, to develop a

streamlined seismic permitting approach and expedite the granting of offshore

seismic permits, to the maximum extent permitted by law. Id.

       Plaintiffs filed this lawsuit challenging President Trump’s reversals on May

3, 2017. Subsequently, Interior Secretary Zinke has issued a draft proposed

program of offshore drilling that would include three lease sales each in the

Chukchi and Beaufort Seas and five in the north- and mid-Atlantic Ocean. Ex. 13

at 2-3. He has also issued an information request related to a proposed 2019 lease

sale in the Beaufort Sea. Ex. 14 at 1.

                                        ARGUMENT

I.     PLAINTIFFS HAVE STANDING

      Plaintiffs have standing to bring this case because their members have

standing in their own right, the interests at stake are germane to Plaintiffs’

MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      9
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 19 of 55
organizational purposes, and the lawsuit does not require the participation of

individual members. Friends of the Earth v. Laidlaw Envtl. Servs. (TOC), Inc.,

528 U.S. 167, 181 (2000). Plaintiffs’ members have standing because (1) they

have suffered an injury-in-fact, (2) that is fairly traceable to the Order, and (3) that

is likely to be redressed by the remedy sought here. Id. at 180-81; see also Spokeo,

Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). Plaintiffs’ members visit or

otherwise use and enjoy specific areas of the Atlantic and Arctic Oceans from

which the Order strips protections, and the fish and wildlife that depend on those

areas. The Order enables and promotes activities related to oil and gas exploration

or development, including seismic surveying, that destroy, degrade, or diminish the

wild and natural state of these areas, or that kill, harm, harass, or displace wildlife.

These activities interfere with Plaintiffs’ members’ use and enjoyment of the areas

and associated wildlife. As such, the Order directly and irreparably injures the

cognizable interests of Plaintiffs’ members. See, e.g., Ecological Rights Found. v.

Pac. Lumber Co., 230 F.3d 1141, 1151 (9th Cir. 2000). A declaration that the

Order is illegal and an injunction preventing its implementation will redress

Plaintiffs’ injuries.

       A.      Plaintiffs have suffered injury-in-fact.

      To establish injury-in-fact, Plaintiffs must show an invasion of a legally

protected interest that is (a) “concrete and particularized” and (b) “actual or
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      10
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 20 of 55
imminent, not conjectural or hypothetical.” Lujan v. Defenders of Wildlife, 504

U.S. 555, 560 (1992) (internal quotation marks omitted).6 Plaintiffs satisfy this

test.

               1.     Harm to Plaintiffs’ members is concrete.

        The oil and gas activities that the Order catalyzes, and seismic surveying in

particular, threaten harm to the broad areas affected by those activities and the

marine wildlife that depends upon those areas. See Ex. 19 at 3-13 (National

Marine Fisheries Service environmental impact statement assessing effects of

seismic surveying and exploration activities in the Arctic Ocean if it is open to

leasing); id. at 42-57 (providing an overview description of noise effects on marine

mammals); id. at 58-67 (assessing aggregate chronic effects of industrial ocean

noise); id. at 58 (concluding that chronic higher background noise levels can “limit

the ability of marine species to detect and interpret important acoustic cues” and

“has the potential to decrease the value of habitat and can lead to consequent

chronic effects”); id. at 59 (noting ample evidence that decreasing listening and

communication space can negatively affect aquatic animals); id. at 67-84




6
  An individual’s aesthetic or recreational interest in a particular place or species is
a legally protected interest. See Ecological Rights Found., 230 F.3d at 1147, and
cases cited therein.
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      11
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 21 of 55
(assessing bowhead whale impacts from seismic and drilling); id. at 85-92

(assessing beluga whale impacts from seismic surveying).

      Plaintiffs’ injury is geographically specific. “Although the geographic area is

very large, it is discrete and defined.” Dkt. 45 at 22; see also Ctr. for Biological

Diversity v. Kempthorne, 588 F.3d 701, 708 (9th Cir. 2009) (holding that plaintiffs

with interests in viewing polar bears and walrus in the Beaufort Sea region alleged

a sufficiently geographically specific injury to confer standing). Plaintiffs’

members visit or otherwise use and enjoy the Atlantic Ocean, including areas near

deepwater canyons; the Chukchi and Beaufort Seas; the wildlife that depends upon

these regions; and coastal regions adjacent to these waters for cultural and

subsistence purposes, recreation, wildlife viewing, education, research,

photography, aesthetic and spiritual enjoyment, or their professions or livelihoods.

See Exs. 21 (Decl. of Regina A. Asmutis-Silvia), 22 (Decl. of Rosemary

Ahtuangaruak), 24 (Decl. of John Hocevar), 26 (Decl. of Dr. Leslie S. Kaufman),

28 (Decl. of Pamela A. Miller), 29 (Decl. of Rob Moir), 30 (Decl. of Dan

Ritzman), 32 (Decl. of Robert Thompson), 34 (Decl. of Michael Wald) & 36

(Decl. of Kiliii Yuyan).

      Seismic surveying can cover large geographic areas, blanket the ocean with

sound intense enough to be harmful vast distances from the surveying vessels

themselves, and harm thousands of marine mammals. See Ex.19 at 67-71
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      12
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 22 of 55
(summarizing how far potentially harmful sound propagates in Beaufort from

2D/3D seismic; out to almost 75 km); id. at75-77 (summarizing for Chukchi; out to

over 100 km); id. at 32-33 (showing acoustic footprints of seismic survey systems

in the Beaufort and Chukchi seas); id. at 35-39 (describing areas ensonified to

different levels under various seismic and exploration drilling activity scenarios);

id. at 23-27 (showing estimates of marine mammals exposed to potentially harmful

sound for different activity scenarios in the Beaufort and Chukchi seas); Ex. 15 at

26-27 (National Marine Fisheries Service permit for a single two-month-long

seismic survey in 2012 in the Arctic Ocean authorizing disturbance of over 60,000

ringed seals and 4,600 beluga whales); Ex. 38 at 4, 10-13 (estimating hundreds of

thousands of disturbances to marine mammals from proposed south- and mid-

Atlantic seismic activities). Thus Plaintiffs’ use overlaps with the far-reaching

harmful effects catalyzed by the Order.

               2.     Harm to Plaintiffs’ members is particularized.

      Plaintiffs’ harm is particularized because their members’ interests are

impaired in a personal and individualized way. See Dkt. 45 at 22-24; Spokeo, Inc.,

136 S. Ct. at 1548. It has long been settled that environmental plaintiffs are

personally injured when they use the affected area and “are persons ‘for whom the

aesthetic and recreational values of the area will be lessened’ by the challenged

activity.” Friends of the Earth, 528 U.S. at 183 (quoting Sierra Club v. Morton,
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      13
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 23 of 55
405 U.S. 727, 735 (1972)). Like the plaintiffs in Kempthorne, 588 F.3d at 707-08,

Plaintiffs here have made that showing. Their members’ personal use and

enjoyment of these areas and the wildlife that depends on them would be harmed

by seismic surveying and other oil and gas activities catalyzed by the Order. Exs.

21, 22, 24, 26, 28, 29, 30, 32, 34 & 36.

               3.     Harm to Plaintiffs’ members is imminent.

      The Order creates “a credible threat of real and immediate harm” sufficient to

support standing. Krottner v. Starbucks Corp., 628 F.3d 1139, 1143 (9th Cir.

2010); see also Dkt. 45 at 17-20. In this case, “although third parties must obtain

permits before seismic surveying and other activities may occur, there is no

indication that the government will not promptly grant such permits, particularly in

light of the Executive Order’s stated purpose of expediting energy production.”

Dkt. 45 at 17; see also In re Zappos.com, Inc., 888 F.3d 1020, 1025-29 (9th Cir.

2018). The Order “itself demonstrates that oil and gas exploration activities are

intended to be imminent.” Dkt. 45 at 18. It purports to reverse protections that

barred oil and gas leasing and drilling in approximately 128 million acres of

federally owned portions of the Arctic and Atlantic Oceans. See Ex. 1 at 2; see

also Exs. 2, 3 & 4. The Order also mandates consideration of revising the federal

government’s offshore oil and gas program so that it includes annual lease sales in



MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      14
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 24 of 55
the Arctic and Atlantic Oceans. Ex. 1 at 1. And, critically, it requires the

Secretaries of the Interior and Commerce to expedite seismic surveying. Id. at 3.

      The Arctic Ocean has seen extensive seismic surveying and some exploration

drilling in the recent past. See Ex. 19 at 29-30 (showing a list of past seismic and

exploration drilling activities from 2006-2015 in the Arctic Ocean). Seismic

surveying often precedes oil and gas lease sales by several years. See Dkt. 26 at 12

(¶ 43) (“API . . . admits that geological and geophysical activities may occur prior

to lease sales . . . .”); Dkt. 49 at 12 (¶ 43) (“Defendants admit that seismic surveys

are sometimes conducted prior to lease sales as an exploration tool to identify

prospective resources.”); Ex. 11 (showing three seismic survey programs

completed in 2006 and one in 2007 preceding a 2008 lease sale in the Chukchi Sea;

showing multiple seismic survey programs completed in the four years prior to a

2003 lease sale in the Beaufort Sea); Ex. 10 (showing lease sale dates). In the

Atlantic, companies have sought approval to conduct seismic surveys even when

lease sales were more than five years away and are not included in an existing or

proposed five-year program. Dkt. 49 at 11-12 (¶ 40) (Atlantic seismic survey

permit applications pending in June 2017); Ex. 9 (leasing schedule demonstrating

no lease sales scheduled in the Atlantic in 2017); Ex. 8 (leasing schedule

demonstrating no lease sales scheduled in the Atlantic through 2022).



MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      15
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 25 of 55
       Industry has demonstrated interest in oil and gas activities, including seismic

surveying, in the previously withdrawn areas. See Dkt. 26 at 10 (¶ 39) (“API

admits that some companies in the oil and gas industry remain interested in oil and

gas development . . . in the Arctic Ocean.”); id. at 11-12 (¶¶ 40-42) (Atlantic); Dkt.

49 at 11 (¶ 39) (“Defendants admit that some companies in the oil and gas industry

remain interested in oil and gas development, in the Arctic Ocean.”); id. at 11-12

(¶ 40) (Atlantic); Ex. 20 (industry statement calling for seismic surveying in

frontier areas without delay). In the Atlantic, the Department of the Interior is

evaluating applications submitted by at least seven companies to conduct seismic

surveying, and the Department of Commerce is proposing to issue permits to four

applicants to take marine mammals incidental to seismic surveying activities. Dkt.

26 at 11 (¶ 40); see also Ex. 12 (showing eight applications for seismic surveying

in the Atlantic Ocean pending before the Department of the Interior). The threat of

seismic surveying in both oceans has only grown as Defendants propose

scheduling lease sales in both oceans and companies seek authorizations for

seismic activities. See Ex. 39 (announcing receipt of an application to conduct

seismic surveying in non-withdrawn areas of the Beaufort Sea over multiple years

starting in July 2018); Ex. 13 at 2-3 (notice of draft proposed 2019-24 leasing

schedule offering six lease sales in the Arctic Ocean and five in the north- and mid-



MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      16
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 26 of 55
Atlantic Ocean); Ex. 14 at 1 (call for information for a Beaufort Sea lease sale in

2019).

               4.     Plaintiffs satisfy the other elements of standing.

      Plaintiffs’ injury is traceable to the Order, because opening areas to leasing

that were formerly permanently off limits to leasing likely increases oil and gas

activities in those areas. See Ex. 1 at 1 (purpose of the Order is to encourage

offshore oil and gas development); Dkt. 45 at 17-18; Ex. 17 at 8 (“Leasing

moratoria . . . decrease exploration activity.”); Ex. 18 at 5, 7 (agency documents

describing the absence of oil and gas activities in withdrawn areas of the outer

continental shelf); Ex. 19 at 6 (assuming the Arctic Ocean is open to leasing, “[the

National Marine Fisheries Service] expects to receive applications [for] . . .

exploration activities”); id. at 8 (stating that the EIS activity scenarios present “a

reasonable range and level of activities for which permits and authorizations may

be requested in the foreseeable future”); id. at 8-13 (showing activity scenarios

with multiple large-scale seismic and drilling activities occurring each year).

      The Court can redress Plaintiffs’ harm by declaring Section 5 of the Order

unlawful and invalid and enjoining the Secretaries of the Interior and Commerce to

act in accordance with the withdrawals. See Dkt. 45 at 11-13; infra Part III-B.

      The harm and threat of harm to Plaintiffs’ members’ aesthetic, economic,

recreational, and subsistence interests in the Arctic and Atlantic Oceans represents
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      17
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 27 of 55
a concrete injury-in-fact, fairly traceable to the President’s violation of law, and

redressable by the relief Plaintiffs seek. See Lujan, 504 U.S. at 560-61; Ecological

Rights Found., 230 F.3d at 1147.

      Plaintiffs also meet the second and third elements of associational standing.

Safeguarding the Arctic and the Atlantic Oceans from harmful offshore oil and gas

activities is germane to the Plaintiffs’ organizational purposes. Exs. 23 (Decl. of

Elisabeth Balster Dabney), 24, 25 (Decl. of Gene Karpinski), 27 (Decl. of Adam

Kolton), 30, 31 (Decl. of Michael Senatore), 32, 33 (Decl. of Gina Trujillo), 35

(Decl. of Nicole Whittington-Evans) & 37 (Decl. of Brendan Cummings).

Plaintiffs’ members need not participate in this litigation because none of the

claims asserted or the relief sought requires individualized proof. Hunt v. Wash.

State Apple Adver. Comm’n, 432 U.S. 333, 344 (1977).

II.    PRESIDENT TRUMP UNLAWFULLY REVERSED OUTER
       CONTINENTAL SHELF WITHDRAWALS

       A.      There is no constitutional authority for President Trump’s action.

       President Trump’s revocation of OSCLA section 12(a) protections for the

Atlantic and Arctic Oceans is unconstitutional. Under our system of separation of

powers, “[t]he President’s power . . . must stem either from an act of Congress or

from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

579, 586 (1952). The Property Clause of the Constitution gives Congress the

exclusive power to manage the United States’ lands and associated resources. See
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      18
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 28 of 55
U.S. Const. art. IV, § 3, cl. 2. Through OCSLA, Congress delegated to the

President only the authority to withdraw unleased lands from mineral leasing or

other disposal—it reserved for itself the contrary power to revoke such

withdrawals. See 43 U.S.C. § 1341(a). By acting beyond that delegation,

President Trump encroached on exclusive congressional powers in derogation of

the doctrine of separation of powers.

       “On its most fundamental plane, the separation of powers doctrine protects

the whole constitutional structure by requiring that each branch retain its essential

powers and independence.” Noriega-Perez v. United States, 179 F.3d 1166, 1174

(9th Cir. 1999) (quoting Pacemaker Diagnostic Clinic of Am., Inc. v. Instromedix,

Inc., 725 F.2d 537, 544 (9th Cir. 1984)). The framers of the Constitution built into

it the core principle of separation of powers to contain, and protect the citizenry

from, abuse of power by an overreaching branch of government. As “envisioned

by the constitutional principle of checks and balances,” judicial review “keep[s]

both the Executive and Congress within their respective constitutional domains in

order to prevent that concentration of power which the Founding Fathers so

feared.” Nat’l Treasury Emps. Union v. Nixon, 492 F.2d 587, 612 (D.C. Cir. 1974)

(footnote omitted); see also Stern v. Marshall, 564 U.S. 462, 483 (2011) (“The

structural principles secured by the separation of powers protect the individual as



MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      19
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 29 of 55
well [as the branches of government].” (quoting Bond v. United States, 564 U.S.

211, 222 (2011))).

       The Constitution entrusts Congress—exclusively—with the delicate task of

managing the United States’ lands and natural resources. Under the Property

Clause, “Congress shall have power to dispose of and make all needful Rules and

Regulations respecting the Territory or other Property belonging to the United

States.” See U.S. Const. art. IV, § 3, cl. 2. As the Supreme Court has noted, “the

constitutional power of Congress in this respect is without limitation.” United

States v. California, 332 U.S. 19, 27 (1947); see also Sioux Tribe of Indians v.

United States, 316 U.S. 317, 326 (1942) (recognizing the Property Clause power as

exclusive to Congress).

       Congress passed OCSLA shortly after the Supreme Court spoke to the

plenary nature of congressional jurisdiction under the Property Clause in the

context of potential legislation affecting offshore submerged lands. See California,

332 U.S. at 27. In enacting OCSLA, Congress ratified that the outer continental

shelf’s “subsoil and seabed . . . appertain to the United States and are subject to its

jurisdiction, control, and power of disposition as provided in this [Act].” 43 U.S.C.

§ 1332(1). And Congress expressly affirmed its plenary power when it amended

OCSLA to establish Five Year Leasing Programs. See H.R. Rep. No. 95-590, at

54 (1978) (placing restrictions on the Secretary of the Interior’s authority in light
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      20
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 30 of 55
of Congress’s “special constitutional responsibility to make all needful rules and

regulations respecting the territory and property belonging to the United States,”

particularly given increasing concerns about “environmental and onshore impacts”

of oil and gas leasing); accord S. Rep. No 95-284, at 43 (1978). In short,

management of the outer continental shelf and its resources falls squarely under

Congress’s sole purview, with the Executive Branch enjoying authority to dispose

of oil and gas resources only as Congress authorized in OCSLA.

       Because the President has no Property Clause powers of his own, separation

of powers dictates that when he attempts to regulate the United States’ lands—as

President Trump has done by purporting to open previously withdrawn outer

continental shelf lands to oil and gas leasing—his actions “must be traced to

Congressional delegation of its authority.”7 Sioux Tribe, 316 U.S. at 326; H.R.

Rep. No. 82-695, at 3 (1951) (stating during OCSLA deliberations the Executive

Branch’s view that it lacked authority to issue leases without legislation). Here,




7
  At one time, the Supreme Court upheld the President’s power to withdraw land
onshore without an express delegation of authority, but it carefully disclaimed any
suggestion the President had any inherent authority to do so. See United States v.
Midwest Oil Co., 236 U.S. 459, 469, 475-80 (1915). Rather, the President’s power
came from an implied delegation by Congress through long-time acquiescence to
repeated exercise of that power. See id. at 475. Congress revoked that implied
delegation no later than in 1976, sharply limiting the scope of the President’s
authority to act as its agent under the Property Clause. See Federal Land Policy &
Management Act of 1976, Pub. L. No. 94-579, 90 Stat. 2743 § 704(a).
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      21
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 31 of 55
there is no such authority. OCSLA section 12(a) delegates the President power to

step into Congress’s shoes to withdraw land in the outer continental shelf, but

reserves for Congress itself the authority to revoke withdrawals. See infra Part

II-C.

        B.     President Obama permanently withdrew submerged lands in the
               Arctic and Atlantic Oceans pursuant to his delegated authority.

        When President Obama made leasing withdrawals in the Arctic and Atlantic

Oceans in 2015 and 2016, he did so using the authority Congress expressly granted

him in OCSLA section 12(a). Section 12(a) provides in full that “[t]he President of

the United States may, from time to time, withdraw from disposition any of the

unleased lands of the outer Continental Shelf.” 43 U.S.C. § 1341(a). Each of

President Obama’s Arctic and Atlantic memoranda of withdrawal describes itself,

in the subject line, as a “Withdrawal” of “Certain Areas” or “Portions” of the

“Outer Continental Shelf from Mineral Leasing” or “Leasing Disposition.” Exs. 2,

3 & 4. And each cites section 12(a), and only section 12(a), as the source for his

authority. Id.

        President Obama’s withdrawals were, by their terms, designed to be

effective until and unless Congress rescinded them. They barred all prospective

leasing for oil or gas. See, e.g., Ex. 2 (“This withdrawal prevents consideration of

these areas for any future oil or gas leasing for purposes of exploration,

MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      22
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 32 of 55
development, or production.”); Ex. 4 (“This withdrawal prevents consideration of

this area for any future mineral leasing for purposes of exploration, development,

or production.”). The President withdrew these areas to “ensure” that they would

“remain available for future generations,” that is, protected in perpetuity, barring

congressional action. See, e.g., Ex. 2. The factors he cited for his decision were of

enduring force, rather than transient effect. See, e.g., Ex. 3 (noting irreplaceable

marine values, vulnerability to oil spills, and “unique logistical, operation, safety,

and scientific challenges and risks”).

       In brief, the authority President Obama drew on, language he used in his

withdrawals, and reasons he articulated for them all reflect the specific power

delegated him by OCSLA section 12(a). None can be reconciled with reversal by a

successor President.

       C.      President Trump lacked any authority for his reversals.

       The text of Section 12(a) is clear and unambiguous. On its face, it does one,

and only one, thing. It authorizes the President to exercise one aspect of

Congress’s Property Clause powers—the power to protect resources and areas

from extractive activity offshore. It does not authorize the reverse—the

dismantling of established protections there.

       The straightforward wording of section 12(a) leaves no room for

interpolation. “[C]ourts must presume that a legislature says in a statute what it
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      23
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 33 of 55
means and means in a statute what it says there.” Barnhart v. Sigmon Coal Co.,

534 U.S. 438, 461-62 (2002) (internal quotation marks omitted); see also Carcieri

v. Salazar, 555 U.S. 379, 387 (2009) (under “settled principles of statutory

construction,” if “the statutory text is plain and unambiguous,” then “we must

apply the statute according to its terms”); Ross v. Blake, 136 S. Ct. 1850, 1856

(2016) (“Statutory interpretation . . . begins with the text.”); Cochnower v. United

States, 248 U.S. 405, 407-08, modified, 249 U.S. 588 (1919) (statute authorizing

Secretary of the Treasury to “increase and fix” compensation did not authorize him

to decrease compensation of customs official); id. (“Reverting then to the statute,

we discover that it was at pains to express clearly the power to ‘increase.’ If it had

been intended to give the power to ‘decrease’—an accurately opposite power—it

would have been at equal pains to have explicitly declared it.”).

       Fidelity to the words Congress chose is especially required when

interpreting a statute that delegates a power the Constitution entrusts solely to

Congress, because “[u]nder our system of law, the judiciary has a duty envisioned

by the constitutional principle of checks and balances to keep both the Executive

and Congress within their respective constitutional domains . . . .” Nat’l Treasury

Emps. Union, 492 F.2d at 612. Thus, the Ninth Circuit has concluded that “[s]trict

adherence to the wording of the statute is of particular importance in construing a

statute regulating public lands, over which Congress has unlimited authority.”
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      24
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 34 of 55
United States v. Patton, 771 F.2d 1240, 1243 (9th Cir. 1985); see also Kidd v. U.S.

Dep’t of Interior, 756 F.2d 1410, 1412 (9th Cir. 1985) (“Congress’ constitutional

power over the proper administration and disposition of the public lands is without

limitation. Once Congress has acted in that regard, both the courts and the

executive agencies have no choice but to follow strictly the dictates of such statutes

. . . . We are bound by the plain language of the statute.”).

       Here, the history, context, purpose, and structure of Section 12(a) all confirm

that Section 12(a) delegates to the President the authority to withdraw areas of the

outer continental shelf from future disposition but not the opposite power to undo

those withdrawals once made. See Ross, 136 S. Ct. at 1858 (construing a statute by

reference to history that “underscores” the meaning of its text); see also Padash v.

INS, 358 F.3d 1161, 1168 (9th Cir. 2004) (“[T]he statute’s language, structure,

subject matter, context, and history” are the “factors that typically help courts

determine a statute’s objective and thereby illuminate its text.”) (quoting

Almendarez-Torres v. United States, 523 U.S. 224, 228 (1998)).

       When Congress chose the language of Section 12(a), a long history of prior

public land legislation demonstrated that when Congress intended to pair the power

to protect public land from disposition with the power to reverse such protections,

it did so expressly. The Forest Service Organic Administration Act of 1897, for

example, authorized the President to create national forests; it also expressly
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      25
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 35 of 55
provided that “he may reduce the area or change the boundary lines or may vacate

altogether any order creating a national forest” issued under Section 471 of that

law. 16 U.S.C. § 473. Similarly, the Pickett Act of 1910 specifically provided that

the President “may, at any time in his discretion, temporarily withdraw . . . any of

the public lands of the United States . . . and such withdrawals or reservations shall

remain in force until revoked by him or by an Act of Congress.” Pub. L. No. 61-

303, Ch. 421, 36 Stat. 847 (1910). So, too, an act passed by Congress in 1935

concerning use of the Rio Grande empowered the President “to withdraw from

sale, public entry or disposal of such public lands of the United Sates as he may

find to be necessary . . . [p]rovided, [t]hat any such withdrawal may subsequently

be revoked by the President[.]” Pub. L. No. 74-286, § 4(c), 49 Stat. 660, 661

(1935).8 In section 12(a), as in another protective statute—the Antiquities Act of

1906, 54 U.S.C. § 320301(a), (b)—Congress chose not to include language

delegating the power to reverse. Congress knew how to delegate the authority to

revoke withdrawals, and the Court must give meaning to its decision not to include

language delegating this authority in section 12(a). See Cent. Bank of Denver v.




8
 Subsequent to the passage of OCSLA, Congress legislated with the same level of
explicitness: the 1976 Federal Land Policy and Management Act specified that
“the Secretary [of the Interior] is authorized to make, modify, extend, or revoke
withdrawals but only in accordance with the provisions and limitations of this
section.” 43 U.S.C. § 1714(a) (emphasis added).
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      26
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 36 of 55
First Interstate Bank, 511 U.S. 164, 176-77 (1994) (construing a statute not to

impose aiding and abetting liability where Congress had imposed it explicitly in

other statutes but language was absent in the statute at issue); Meghrig v. KFC

Western, Inc., 516 U.S. 479, 485 (1996) (construing a statute not to provide a

recovery remedy where Congress, in a later-passed “analogous, but not parallel”

statute, expressly provided for recovery but statute at issue contained no such

language); Franklin Nat’l Bank v. New York, 347 U.S. 373, 378 (1954) (construing

a statute not to impose local restrictions on banking operations where Congress had

done so explicitly in other statutes but similar language was absent in statute at

issue).

       The context in which Congress adopted section 12(a) also shows that it did

not intend it to conceal a silent reversal power. When it chooses the wording of a

statute, Congress is presumptively aware of Executive Branch interpretations of

similar language in parallel statutes. See Bragdon v. Abbott, 524 U.S. 624, 631

(1998) (“In construing the statute, we are informed by interpretations of parallel

definitions in previous statutes and the views of various administrative agencies

which have faced this interpretive question.”); Merrill Lynch, Pierce, Fenner &

Smith v. Curran, 456 U.S. 353, 382 n.66 (1982) (interpreting a statute based on the

principle that “Congress is presumed to be aware of an administrative or judicial

interpretation of a statute”) (internal quotation marks omitted); Kent v. Dulles, 357
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      27
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 37 of 55
U.S. 116, 127-28 (1958) (interpreting narrowly a statutory provision “expressed in

broad terms” based on Congress’s presumed awareness of “prior administrative

practice”); see also Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit, 547 U.S.

71, 85 (2006) (presuming Congress is aware of agency and court constructions of a

statutory term when it adopts a new statute using that term).

       When Congress passed section 12(a), the Executive Branch had concluded,

in a series of formal legal opinions of the Attorney General dating back nearly a

century, that if Congress wanted the Executive to have such authority, Congress

would need to make that explicit. A foundational opinion, quoted in later ones,

explained the rationale this way: “unless it be within the terms of the power

conferred by that statute, the Executive can no more destroy his own authorized

work, without some other legislative sanction, than any other person can.” 10 U.S.

Op. Atty. Gen. 359, 364 (Nov. 8, 1862). Closer in time to OCSLA’s enactment,

interpreting the Antiquities Act—which as noted above, see supra p. 26,

authorized the President to declare national monuments but did not contain

language delegating the power to reverse—a successor Attorney General opined

that “if public lands are reserved by the President for a particular purpose under

express authority of an act of Congress, the President is thereafter without

authority to abolish such reservation.” 39 U.S. Op. Atty. Gen. 185, 186-87 (Sept.

26, 1938). The opinion explained that “the reservation made by the President
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      28
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 38 of 55
under the discretion vested in him by the statute was in effect a reservation by the

Congress itself,” and that, except where Congress expressly provided, “the

President thereafter was without power to revoke or rescind the reservation.” Id. at

187. Other opinions sent the same message about a variety of enactments over the

years. See 16 U.S. Op. Atty. Gen. 121, 123 (Aug. 10, 1878); 17 U.S. Op. Atty.

Gen. 168, 168-69 (July 20, 1881); 21 U.S. Op. Atty. Gen. 120, 120-21 (Jan. 19,

1895); 28 U.S. Op. Atty. Gen. 143, 144 (Jan. 24, 1910); 36 U.S. Op. Atty. Gen. 75,

79 (July 8, 1929). In the face of this longstanding line of interpretation, Congress’s

silence in section 12(a) demonstrates that it retained for itself the power to revoke.

       OCSLA’s purpose and structure confirm that Section 12(a) delegates only

authority to withdraw lands from disposition and not its opposite power. In

OCSLA, Congress extended federal “jurisdiction, control, and power of disposition

as provided in this Act” over outer continental shelf lands and defined how these

federal lands should be managed. Pub. L. No. 83-212, § 3(a), 67 Stat. 462, 462

(1953) (codified at 43 U.S.C. § 1332(1)); see also S. Rep. No. 83-411 at 6 (1953)

(describing Congress’s purpose to provide for administration of the outer

continental shelf); id. at 7 (explaining that OCSLA’s provisions “extend the

jurisdiction and control of the United States to the seabed and subsoil

themselves”); id. at 8 (describing Executive Branch’s position that it was



MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      29
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 39 of 55
“necessary to have congressional action looking toward the future management of

the resources of this area”).

       When it passed in 1953, OCSLA included two provisions addressing the

power to dispose of these newly recognized federal lands, sections 8 and 12(a).

Section 8 granted broad discretionary disposition authority to the Secretary to lease

or not, when and where he chose, by authorizing him “to grant . . . oil and gas

leases” on outer continental shelf lands. Pub. L. 83-212, § 8(a), 67 Stat. 462, 468

(1953) (codified at 43 U.S.C. § 1337(a)(1)). Section 12(a) was, by contrast,

entirely protective—it authorized the President to withdraw land from disposition

by lease altogether. Pub. L. No. 83-212, § 12(a), 67 Stat. 462, 469 (1953) (codified

at 43 U.S.C. § 1341(a)). Though Section 8 also authorized the Secretary to protect

areas and their natural resources from disposition by withholding them from

leasing, that protection was temporary, because nothing in the Act prevented the

Secretary, unilaterally or at the President’s direction, from revisiting at any time

the decision not to lease. Granting to the President a similar, reversible, protective

power in Section 12(a) would have been largely redundant, an intent that ought not

be imputed to Congress in the absence of explicit expression. See, e.g., Yates v.

United States, 135 S. Ct. 1074, 1085 (2015) (declining to read one statutory

provision so as to “significantly overlap” with another and noting that the “canon



MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      30
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 40 of 55
against surplusage is strongest when an interpretation would render superfluous

another part of the same statutory scheme”).

       Indeed, Congress included section 12(a) in the Act despite the Eisenhower

Administration’s statement that the provision was “unnecessary, since leasing is

not mandatory in any case.” S. Rep. 83-411 at 39. Its purpose was to give the

President power “to withdraw certain areas of the seabed of the Continental Shelf

from leasing” similar to authority “vested in him with respect to federally owned

lands on the uplands.” Id. at 26; see also id. at 14. Congress did not include in

OCSLA, however, the kind of language it uses in statutes that grant not just

explicit power to protect public lands from disposition but also the power to

reverse such protections. See supra pp. 25-27. OCSLA thus establishes a means

for withdrawing land that Congress, but only Congress, could later undo, creating a

protective mechanism wholly additive to powers given Interior Secretaries in the

legislative scheme defining Executive Branch administration of offshore oil and

gas resources.

       Subsequent legislative history confirms that when Congress later returned to

legislating the regulation and protection of the outer continental shelf, it continued

to view section 12(a) as providing only withdrawal authority. In 1978, Congress

extensively amended OCSLA in response to the Nixon Administration’s

acceleration of leasing in the wake of that era’s oil crisis. See S. Rep. 95-284 at
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      31
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 41 of 55
50-51; id. at 61 (including findings by the U.S. Government Accountability Office

that accelerated leasing in the early 1970s had been “[h]astily conceived . . . under

pressures exerted by the energy crisis”); H. Rep. 95-590, at 100 (1977). The

amendments were intended to “reassert[ ] Congress’ special constitutional

responsibility to ‘make all needful rules and regulations respecting the territory or

other property belonging to the United States.’” See S. Rep. 95-284, at 43 (quoting

U.S. Const., art. IV, sec. 3). The amendments added procedural checks on the

Executive’s discretion to dispose of outer continental shelf lands, including a

public five-year planning process involving active congressional oversight and a

legislative veto provision. See id. at 43; id. at 48 (describing the 1953 statute); id.

at 75-76 (describing five-year leasing program, including congressional review of

leasing programs); Pub. L. No. 95-372, § 208, 92 Stat. 629, 649-52 (1978)

(codified at 43 U.S.C. § 1344). However, even as it reined in the Executive’s

disposition authority, Congress left Section 12(a) untouched. Had it viewed that

section as potentially fostering disposition by reversing withdrawals, it would not

plausibly have failed even to consider revisiting that delegation at the same time.

III.   THE COURT SHOULD DECLARE SECTION 5 OF THE ORDER
       UNLAWFUL AND INVALID AND ENJOIN THE SECRETARIES OF
       THE INTERIOR AND COMMERCE FROM IMPLEMENTING IT

       Plaintiffs request a declaration that Section 5 of the Order is unlawful and

invalid, and an injunction against the Secretaries of the Interior and Commerce

MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      32
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 42 of 55
preventing them from implementing Section 5 of the Order and thereby requiring

them to act in conformity with President Obama’s withdrawals. The Court may

grant this relief, it would remedy Plaintiffs’ harm, and the equities compel it.

       A.      The Court may grant the declaratory and injunctive relief Plaintiffs
               seek.

       The Supreme Court has “long held that when the President takes official

action, the Court has the authority to determine whether he has acted within the

law.” Clinton v. Jones, 520 U.S. 681, 703 (1997); see also Franklin v.

Massachusetts, 505 U.S. 788, 801 (1992). Accordingly, a court may issue

declaratory relief against the President. See, e.g., Clinton v. City of New York, 524

U.S. 417, 421, 425 n.9 (1998) (affirming entry of declaratory judgment against

President Clinton stating that Line Item Veto Act was unconstitutional);

Youngstown Sheet & Tube Co., 343 U.S. at 588-89 (holding that President Truman

did not act within his constitutional power in seizing steel mills); Nat’l Treasury

Emps. Union, 492 F.2d at 616 (issuing declaratory judgment against the President);

see also Hawaii v. Trump, 878 F.3d 662, 673 (9th Cir. 2017), cert. granted, 138

S. Ct. 923 (2018) (“We conclude that the President’s issuance of the Proclamation

once again exceeds the scope of his delegated authority.”).

       As to the Secretaries, an injunction is within the long-standing power of the

federal courts. See, e.g., Carroll v. Safford, 44 U.S. (3 How.) 441, 463 (1845)

MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      33
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 43 of 55
(“[I]n a proper case, relief may be given in a court of equity. . . to prevent an

injurious act by a public officer . . . .”). Accordingly, the Court may enjoin the

Secretaries from implementing Section 5 of the Order. See Karnoski v. Trump, No.

C17-1297-MJP, 2017 WL 6311305, at *10 (W.D. Wash. Dec. 11, 2017)

(preliminarily enjoining defendants and their officers from implementing

presidential memorandum banning transgender individuals from serving in the

military and requiring officers to adhere to the policy in existence prior to the

presidential memorandum), appeal dismissed, No. 17-36009, 2017 WL 8229552

(9th Cir. Dec. 30, 2017); Doe 1 v. Trump, 275 F. Supp. 3d 167, 217 (D.D.C. 2017)

(same), stay denied No. 17-5267, 2017 WL 6553389, at *1 (D.C. Cir. Dec. 22,

2017); Youngstown Sheet & Tube Co., 343 U.S. at 588-89 (affirming the district

court’s decision enjoining the Secretary of Commerce from carrying out

President’s seizure order); see also Franklin, 505 U.S. at 828 (Scalia, J.,

concurring in part and concurring in the judgment) (“Review of the legality of

Presidential action can ordinarily be obtained in a suit seeking to enjoin the officers

who attempt to enforce the President’s directive.”).

       B.      A declaration and injunction would remedy Plaintiffs’ harm.

       A declaration that Section 5 of the Order is unlawful and invalid would

mean President Obama’s withdrawals in the Arctic and Atlantic Oceans would

remain, and those areas would be withdrawn permanently from disposition, absent
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      34
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 44 of 55
an act of Congress. An order enjoining the Secretaries from implementing Section

5 and requiring them to adhere to President Obama’s withdrawals would give

effect to the declaration and greatly reduce the risk of harmful oil and gas activities

in the withdrawn areas and in other areas affected by those activities. This would

remedy Plaintiffs’ harm.

       OCSLA authorizes the Secretary of Interior to plan and hold lease sales for

outer continental shelf lands open to disposition, see 43 U.S.C. §§ 1337, 1344, and

to oversee the permitting of seismic surveying and other exploration on the outer

continental shelf, see id. § 1340. Spurred by Section 5 of the Order, the Secretary

now is: (i) promulgating an accelerated five-year leasing program that would

schedule six leases in the Arctic Ocean starting in 2019 and five in the north- and

mid-Atlantic Ocean starting in 2020, see Ex. 13 at 2-3; (ii) initiating the process for

holding a lease sale in the Beaufort Sea in 2019, see Ex. 14 (call for information

for a Beaufort Sea lease sale in 2019); and (iii) evaluating seismic surveying permit

applications for both the Atlantic and the Arctic, see Ex. 39; Ex. 12. An injunction

requiring the Secretary of the Interior to act in conformity with President Obama’s

withdrawals would reduce the risk of harm to Plaintiffs because—with the

withdrawals in place—the Secretary would be prevented from holding lease sales

in the withdrawn areas, which would not be available for disposition. 43 U.S.C.

§ 1341(a). This would make it much less likely that harmful oil and gas activities,
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      35
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 45 of 55
such as seismic surveying to predict the location of oil and gas deposits ahead of

bidding on leases, would occur in the withdrawn areas. See supra Part I-A-4

(noting reduced oil and gas exploration activity in withdrawn areas).

       An injunction would also make it much less likely that the Secretary of the

Interior would plan for leasing in those areas or, relatedly, permit seismic

surveying there if companies were to apply. See, e.g., Ex. 16 at 1, 3, 5, 7, 9, 11

(denying seismic permits in the Atlantic in part on the basis that the areas had been

removed from the leasing schedule through 2022).

       Similarly, an injunction requiring the Secretary of Commerce to act

consistently with President Obama’s withdrawals would decrease the likelihood

that harmful oil and gas activities would occur in the areas at issue. Congress has

assigned responsibility to the Secretary for administering the Marine Mammal

Protection Act (MMPA) as it applies to whales and seals. The National Marine

Fisheries Service (NMFS) is the agency within the Commerce Department that

must approve authorizations for seismic exploration. And, like the Bureau of

Ocean Energy Management in the Atlantic, NMFS is less likely to issue an

authorization that includes the withdrawn area. This is because the MMPA

requires NMFS, in issuing any authorization under 16 U.S.C. § 1371(a)(5)(A) or

(D), to prescribe means and methods of achieving the “least practicable adverse

impact” on marine mammals and their habitat, see id. § 1371(a)(5)(A)(i)(II)(aa).
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      36
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 46 of 55
Since it is practicable for a survey company to avoid seismic exploration in an area

that has been permanently withdrawn from oil and gas exploration, and it would

reduce adverse impacts, an injunction that requires NMFS to act consistently with

the section 12(a) withdrawals would make it more likely that the withdrawn areas

are left out of the authorization.

       C.      The equities compel an injunction here.

       Plaintiffs are entitled to an injunction against the Secretaries of the Interior

and Commerce because (1) they will suffer irreparable injury in its absence;

(2) remedies available at law are inadequate to compensate for that injury;

(3) considering the balance of hardships between the plaintiff and defendant, a

remedy in equity is warranted; and (4) the public interest would not be disserved

by a permanent injunction. See Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries

Serv., 886 F.3d 803, 817 (9th Cir. 2018).

               1.     Plaintiffs will suffer irreparable harm absent an injunction.

       Plaintiffs satisfy the first and second factors because they will suffer

irreparable injury absent an injunction against the Secretaries of the Interior and

Commerce. “Environmental injury, by its nature, can seldom be adequately

remedied by money damages and is often permanent or at least of long duration,

i.e., irreparable.” Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 545 (1987).

Here, the harms to Plaintiffs’ interests derive from environmental injuries that
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      37
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 47 of 55
cannot be compensated adequately by remedies at law. Plaintiffs’ members use

and enjoy the Arctic and Atlantic Oceans and wildlife that depends upon them.

See Exs. 21, 22, 24, 26, 28, 29, 30, 32, 34 & 36. Oil and gas activities would harm

these areas and their wildlife, which would in turn impair Plaintiffs’ interests.

Supra Part I-A; see Exs. 21, 22, 24, 26, 28, 29, 30, 32, 34 & 36. Indeed, this Court

has repeatedly granted injunctions to prevent irreparable harm from the threat of

offshore oil and gas activities in the Arctic Ocean upon concluding that the

Executive Branch acted unlawfully. See Native Vill. of Point Hope v. Salazar,

1:08–cv–0004–RRB (D. Alaska, July 21, 2010), Dkt. 136 at 20-21 (enjoining all

activities under a lease sale found to be unlawful), as amended by 730 F. Supp. 2d

1009, 1019 (D. Alaska 2010) (limiting scope of injunction to allow “scientific

studies,” “routine paper transactions,” and certain other off-lease activities); Native

Vill. of Point Hope v. Jewell, 1:08–cv–0004–RRB (D. Alaska, April 24, 2014),

Dkt. 284 at 2 (enjoining drilling on leases found to be unlawful). Other district

courts similarly have issued injunctive relief on the basis of harm from industrial

activity in the ocean, including seismic surveying, that could cause behavioral

disruption or injury. See, e.g., Ctr. for Biological Diversity v. Nat’l Sci. Found.,

No. C 02-5065 JL, 2002 WL 31548073, at *5 (N.D. Cal. Oct. 30, 2002); see also

Ocean Mammal Inst. v. Gates, 546 F. Supp. 2d 960, 983 (D. Haw. Feb. 29, 2008);

Nat. Res. Def. Council v. Gutierrez, No. C-07-04771 EDL, 2008 WL 360852, at
MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      38
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 48 of 55
*30 (N.D. Cal. Feb. 6, 2008); Nat. Res. Def. Council v. Evans, 279 F. Supp. 2d

1129, 1188 (N.D. Cal. 2003).

               2.     The balance of equities and the public interest favor injunctive
                      relief.

       Plaintiffs meet the third and fourth factors because the balance of the harms

tips in their favor and in favor of the public interest. “[W]hen environmental injury

is sufficiently likely, the balance of harms will usually favor the issuance of an

injunction to protect the environment.” Idaho Sporting Cong., Inc. v. Alexander,

222 F.3d 562, 569 (9th Cir. 2000) (internal quotation marks omitted). That is the

case here. The offshore oil and gas activities catalyzed by Section 5 of the Order

will likely irreparably harm wildlife populations and the character of the areas at

issue and, thus, the aesthetic, recreational, economic, and other interests of

Plaintiffs’ members who use and enjoy those areas or the wildlife that depends

upon them. Plaintiffs and the public have an “extremely strong” interest in

protecting “the survival and flourishing of marine mammals and endangered

species, as well as a healthy marine environment” against unlawful acoustic

harassment that is now imminently threatened. Evans, 279 F. Supp. 2d at 1190.

On the other hand, Defendants would not suffer harm from an injunction. And

Defendant-Intervenors have no cognizable interest in profiting from pursuing oil

and gas development in the areas that have been withdrawn.

MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      39
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 49 of 55
       Finally, the public interest heavily favors an injunction. The injunction

sought here simply requires the Secretaries to act consistently with what the Court

will have determined is the law—namely, that President Trump exceeded his

authority in issuing Section 5 of the Order and, as a result, President Obama’s

withdrawals remain in place. There would be no public benefit in allowing the

Secretaries to continue to act as if President Obama’s withdrawals were not in

place. See Youngstown Sheet & Tube Co. v. Sawyer, 103 F. Supp. 569, 577

(D.D.C 1952) (describing public interest in preliminarily enjoining officers from

implementing “unlimited and unrestrained Executive power,” even in the face of a

potentially crippling strike), aff’d, 343 U.S. 579 (1952).

                                       CONCLUSION

       For the foregoing reasons, Plaintiffs ask the Court to grant their motion for

summary judgment, declare Section 5 of President Trump’s executive order to be

unlawful, and enjoin the Secretaries to act in accordance with the prior

withdrawals.




MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      40
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 50 of 55
       Respectfully submitted this 8th day of June, 2018.

                      s/ Erik Grafe
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                      Northern Alaska Environmental Center; Resisting
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                      Center for Biological Diversity; Greenpeace, Inc.; and
                      The Wilderness Society




MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      41
      Case 3:17-cv-00101-SLG Document 51                Filed 06/08/18   Page 51 of 55
                             CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2018, a copy of foregoing MEMORANDUM

IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT, with

attachments, was served electronically on all counsel of record using the CM/ECF

system.


                                                        s/ Erik Grafe
                                                        Erik Grafe
                                                        EARTHJUSTICE




MEM. IN SUPPORT OF MOT. FOR SUMM. J.
League of Conservation Voters et al. v. Trump et al.,
No. 3:17-cv-00101-SLG                      42
      Case 3:17-cv-00101-SLG Document 51                 Filed 06/08/18   Page 52 of 55
                          TABLE OF EXHIBITS

Exhibit   Description
No.
    1     Executive Order 13795—Implementing an America-First Offshore
          Energy Strategy, 2017 Daily Comp. Pres. Docs. 287 (Apr. 28, 2017)

   2      Presidential Memorandum—Withdrawal of Certain Areas of the
          United States Outer Continental Shelf Offshore Alaska from Leasing
          Disposition, 2015 Daily Comp. Pres. Docs. 59 (Jan. 27, 2015)

   3      Presidential Memorandum—Withdrawal of Certain Portions of the
          United States Arctic Outer Continental Shelf from Mineral Leasing,
          2016 Daily Comp. Pres. Docs. 860 (Dec. 20, 2016)

   4      Presidential Memorandum—Withdrawal of Certain Areas off the
          Atlantic Coast on the Outer Continental Shelf from Mineral Leasing,
          2016 Daily Comp. Pres. Docs. 861 (Dec. 20, 2016)

   5      The White House, Fact Sheet: President Obama Protects 125 Million
          Acres of the Arctic Ocean (Dec. 20, 2016)

   6      The White House, Fact Sheet: Unique Atlantic Canyons Protected
          from Oil and Gas Activity (Dec. 20, 2016)

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                                      i
   Case 3:17-cv-00101-SLG    Document 51     Filed 06/08/18   Page 53 of 55
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21    Declaration of Regina A. Asmutis-Silvia

22    Declaration of Rosemary Ahtuangaruak


                                  ii
Case 3:17-cv-00101-SLG   Document 51     Filed 06/08/18   Page 54 of 55
23    Declaration of Elisabeth Balster Dabney

24    Declaration of John Hocevar

25    Declaration of Gene Karpinski

26    Declaration of Dr. Leslie S. Kaufman

27    Declaration of Adam Kolton

28    Declaration of Pamela A. Miller

29    Declaration of Rob Moir

30    Declaration of Dan Ritzman

31    Declaration of Michael Senatore

32    Declaration of Robert Thompson

33    Declaration of Gina Trujillo

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                                     iii
Case 3:17-cv-00101-SLG    Document 51      Filed 06/08/18   Page 55 of 55
